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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK                                    CASE No.: 1:14-cv-04971-ARR-RML
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DARRELL WEATHERSPOON

                           Plaintiff,                             AMENDED COMPLAINT

                  -against-                                       PLAINTIFF(S) DEMAND
                                                                  TRIAL BY JURY

THE CITY OF NEW YORK,
P.O. RICHARD DANESE,
P.O. "JANE DOE" AND
"JOHN DOE" 1-10.

1‘through’10 inclusive,
the names of the last defendants
being fictitious, the true names
of the defendants being unknown
to the plaintiff(s).

                           Defendant(s)

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         Plaintiff, DARRELL WEATHERSPOON, by his attorney, Paul Hale Esq., complaining of

the defendants, The City of New York, P.O. RICHARD DANESE, Police Officers "John" and

"Jane" Doe, collectively referred to as the Defendants, upon information and belief alleges as

follows:


                                        NATURE OF THE ACTION

1.       This is an action at law to redress the deprivation of rights secured to the plaintiff under

         color of statute, ordinance, regulation, custom, and or to redress the deprivation of rights,

         privileges, and immunities secured to the plaintiff by the Fourth, Fifth, Eighth and

         Fourteenth Amendments to the Constitution of the United States, and by Title 42 U.S.C. §
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      1983, § 1988 [and § 1985], [and arising under the law and statutes of the State of New

      York].


2.    This is an action to further seek compensation for the serious and permanent personal

      injuries sustained by the plaintiff, as a result of the negligence of the defendants,

      perpetrated while said defendant police officers were in the process of illegally and

      unlawfully arresting plaintiff.


                                        JURISDICTION


3.    The jurisdiction of this Court is invoked under 28 U.S.C. §1343(3), this being an action

      authorized by law to redress the deprivation of rights secured under color of state and city

      law, statute, ordinance, regulation, custom and usage of a right, privilege and immunity

      secured to the plaintiff by the Fourth, Fifth, Eighth and Fourteenth Amendment to the

      Constitution of the United States.


4.    All causes of action not relying exclusively on the aforementioned federal causes of action

      as a basis of this Court’s jurisdiction are based on the Court’s supplemental jurisdiction

      pursuant to 28 U.S.C. §1367 to hear state law causes of action. The events, parties,

      transactions, and injuries that form the basis of plaintiff’s federal claims are identical to the

      events, parties, transactions, and injuries that form the basis of plaintiff’s claims under

      applicable State and City laws.


5.    As the deprivation of rights complained of herein occurred within the Eastern District of

      New York, venue is proper in this district pursuant to 28 U.S.C. §§1391 (b) and (c).


                                              PARTIES
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   6. Plaintiff DARRELL WEATHERSPOON is 43 years old, resides in New York and is a

      resident of the State of New York.

   7. At all times relevant to this action, Defendant P.O. RICHARD DANESE was a police

      officer with the City of New York Police Department and acting under color of state law.

      He is being sued in both his individual and official capacity.

   8. Defendants Police Officers are, and at all times relevant to this action were, officers of the

      City of New York Police Department and acting under color of state law. Said officers are

      being sued in both their individual and official capacities.

   9. The Defendant, City of New York is a municipality in the State of New York and employs

      the Defendants Police Officers.

   10. The defendant officers were at all material times acting within the scope of their

      employment, and as such, the defendant City is vicariously liable for the defendant officers'

      acts as described above.

      FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

   11. On 10/25/2012 at approximately 12 pm plaintiff DARRELL WEATHERSPOON was

      walking on the corner of Myrtle Avenue and Marcy Avenue in Brooklyn, NY.

   12. At the above time and place MR. WEATHERSPOON was stopped by a uniformed NYPD

      officer, P.O. RICHARD DANESE, for no apparent reason.

   13. MR. WEATHERSPOON asked why he was being stopped and was told “Shut up, and give

      me your ID” by the P.O. RICHARD DANESE.

   14. MR. WEATHERSPOON presented his identification and began to complain and ask why

      he was stopped. He was again told to shut up.

   15. MR. WEATHERSPOON then attempted to call 311 to make a CCRB complaint against
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      the officer.

   16. P.O. RICHARD DANESE then grabbed MR. WEATHERSPOON’s arm and twisted it in

      such a way to cause extreme pain. MR. WEATHERSPOON immediately complained

      about the pain.

   17. MR. WEATHERSPOON was then handcuffed by P.O. RICHARD DANESE.

   18. MR. WEATHERSPOON was placed in the back of a police car and taken to what he

      believed was Police Station #3 (a Housing Police station.)

   19. From the PSA 3 station house MR. WEATHERSPOON was taken to Woodhull hospital

      and treated for his injuries.

   20. MR. WEATHERSPOON was taken from Woodhull hospital back to PSA 3. From PSA 3

      MR. WEATHERSPOON was taken to Brooklyn Central Booking.

   21. During this time P.O. RICHARD DANESE concocted a story and charged MR.

      WEATHERSPOON with disorderly conduct.

   22. Shortly thereafter MR. WEATHERSPOON saw a Judge and was released on his own

      recognizance.

   23. The charges against MR. WEATHERSPOON were dismissed on 1/18/2014 after

      approximately two court appearances.

   24. Subsequent to MR. WEATHERSPOON’s arrest he received treatment for his hurt wrist at

      Woodhull Hospital.

   25. This led to MR. WEATHERSPOON undergoing corrective surgery at Belleview Hospital.

   26. MR. WATHERSPOON is still suffering from the injury caused by the officer for which he

      experiences substantial pain and is still undergoing physical therapy.

   27. At no time did plaintiff commit any offense against the laws of New York City and or State
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      for which an arrest may be lawfully made.

   28. As a direct and proximate result of defendants’ actions, plaintiff suffered and continues to

      suffer injuries, including but not limited to emotional distress, nightmares, panic attacks,

      mental anguish and unwarranted severe anger bouts some or all of which may be

      permanent. Plaintiff has sought treatment for these injuries.

   29. The unlawful arrest of plaintiff, plaintiff’s wrongful imprisonment because of defendants’

      knowledge of a lack of any legitimate cause or justification, were intentional, malicious,

      reckless and in bad faith.

   30. As a direct and proximate result of defendants’ actions, plaintiff suffered and continues to

      suffer, mental anguish, repetitive injury, psychological and emotional distress, and physical

      pain and suffering, some or all of which may be permanent.

   31. As a direct and proximate result of his unlawful detention, assault, confinement, Plaintiff

      has lived in terror of their attack, and continues to suffer from nightmares, are fearful of

      going outside and when he sees the police, and suffer various emotional attacks, in addition,

      and have been unable to function normally which has caused a severe strain and breakdown

      in his personal relationships, in and outside of his home.

   32. As a direct and proximate result of defendant’s actions, plaintiff was arrested, detained

      without just or probable cause.

   33. As a direct and proximate result of defendants’ actions, plaintiff was deprived of rights,

      privileges and immunities under the Fourth, Eighth and Fourteenth Amendments to the

      United States Constitution and the laws of the City of New York and the State of New

      York.

   34. The actions of defendants, acting under color of State law, deprived plaintiff of his rights,
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      privileges and immunities under the laws and Constitution of the United States; in

      particular, the rights to be secure in his person and property, to be free from the excessive

      use of force and from malicious prosecution, abuse of process, and the right to due process.

   35. By these actions, defendants have deprived plaintiff of rights secured by the Fourth, Eighth,

      and Fourteenth Amendments to the United States Constitution, in violation of 42 U.S.C.

      Section 1983.

                            AS A FIRST CAUSE OF ACTION:
                        42 U.S.C Section 1983-against all Defendants.

   36. Plaintiff hereby restates all paragraphs above of this complaint, as though fully set forth

      below.

   37. By detaining and imprisoning plaintiff, without justification, probable cause or reasonable

      suspicion, using excessive force, and assaulting him, the Officers, Defendants deprived

      Plaintiff of rights, remedies, privileges, and immunities guaranteed to every citizen of the

      United States, in violation of 42 U.S.C. Section 1983, including, but not limited to, rights

      guaranteed by the Fourth, Eighth and Fourteenth Amendments of the United States

      Constitution.

   38. In addition, the Defendants conspired among themselves to deprive plaintiff of his

      constitutional rights secured by 42 U.S.C. Section 1983, and by the Fourth, Eighth and

      Fourteenth Amendments to United States Constitution, and took numerous overt steps in

      furtherance of such conspiracy, as set forth above.

   39. The Defendant acted under pretense and color of state law and in their individual and

      official capacities and within the scope of their respective employment as NYPD Officers.

      Said acts by the Defendants Officers were beyond the scope of their jurisdiction, without

      authority of law, and in abuse of their powers, and said Defendants acted willfully,
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       knowingly, and with the specific intent to deprive the Plaintiff of his constitutional rights

       secured by 42 U.S.C. Section 1983, and by the Fourth, Fifth, Eighth and Fourteenth

       Amendments to the United States Constitution.

   40. As a direct and proximate cause of the acts of the defendants, plaintiff suffered the

       following injuries and damages:

                   A. An arrest not based upon probable cause;

                   B. Unwarranted and malicious criminal prosecution;

                   C. Deprivation of liberty without due process of law;

                   D. Excessive force imposed upon him;

                   E. Summary punishment imposed upon him;

                   F. Denied equal protection under the law; and

                   G. Denial of medical services.

   41. As a direct and proximate result of the misconduct and abuse of authority detailed above,

       Plaintiff sustained the damages herein before stated.

                             AS A SECOND CAUSE OF ACTION:
                    Failure To Intervene - Fourth Amendment - 42 U.S.C. S 1983

   42. Members of the NYPD have an affirmative duty to assess the constitutionality of interactions

       between their fellow members of service and civilians and to intervene where they observe another

       member of the NYPD or other law enforcement agency employing unjustified and excessive force

       against a civilian.

   43. The officer defendants were present for the above-described incident and witnessed other

       defendants actions.

   44. The officer defendants' use of force against plaintiffs was unjustified under the circumstances yet

       the officer defendants failed to take any action or make any effort to intervene, halt or protect
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           plaintiffs from being subjected to their actions by other officer defendants.

       45. The officer defendants' violations of plaintiffs' constitutional rights by failing to intervene in other

           defendants' clearly unconstitutional actions resulted in the injuries and damages set forth above.

                                     AS A THIRD CAUSE OF ACTION:
                                              Monell claim1

       46. Defendant City of New York, as a matter of policy and practice, has with deliberate

           indifference failed to properly sanction or discipline police officers including the

           defendants in this case, for violations of the constitutional rights of citizens, thereby

           causing police officers including defendants in this case, to engage in unlawful conduct.

       47. Defendant City of New York, as a matter of policy and practice, has with deliberate

           indifference failed to sanction or discipline police officers including the defendants in this

           case, who are aware of and subsequently conceal violations of the constitutional rights of

           citizens by other police officers thereby causing and encouraging police officers including

           defendants in this case, to engage in unlawful conduct.

                                    AS A FOURTH CAUSE OF ACTION:
                      42 U.S.C Section 1983–Retaliation in Violation of First Amendment
                                            against all Defendants

       48. Plaintiff hereby restates all paragraphs above of this Complaint as if fully set forth here.

       49. Plaintiff was engaging in constitutionally protected activity, including but not limited to

           his discussions and exchanges with the Defendants Police Officers for their objectionable

           conduct.

       50. Plaintiff’s speech was an inquiry related to objectionable police conduct, which is a matter

           of important public concern.

       51. Motivated in whole or in part by Plaintiff’s protected verbal opposition to their conduct


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    Monell v. City of New York Department of Social Services, 436 U.S. 658
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           and/or the substance or style of his communications with them, Defendants searched,

           seized, and forcibly arrested Plaintiffs.

        52. Defendants Police Officers’ adverse actions in retaliation for Plaintiffs’ expressed intention

           of exercising his first amendment rights and inquiring about objectionable police conduct

           caused Plaintiffs to suffer economic, physical and emotional injuries.

        53. Defendants’ actions, as described herein, were undertaken intentionally, willfully and

           wantonly.

        54. Defendants Police Officers’ conduct violated clearly established rights belonging

           Plaintiffs, of which reasonable law enforcement knew or should have known.

        55. The acts or omissions of each of the Police Officer Defendants, including the

           unconstitutional policy, procedure, custom and/or practice described herein, were the legal

           and proximate cause of Plaintiffs’ damages.



                   WHEREFORE, plaintiff respectfully requests judgment against the Defendants as

           follows:


   I.      On the First Cause of Action against all the defendants, compensatory and punitive

           damages in an amount to be determined at trial, and reasonable attorneys’ fees and costs

           under 42 U.S.C. Section 1988;

  II.      On the Second Cause of Action, against all Defendants, compensatory damages in an

           amount to be determined at trial, and punitive damages against the Officers Defendants in

           an amount to be determined at trial;

 III.      On the Third Cause of Action, against all Defendants, compensatory damages in an

           amount to be determined at trial, punitive damages against the Defendants in an amount to
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       be determined at trial;

 IV.   On the Fourth Cause of Action, against all Defendants, compensatory damages in an

       amount to be determined at trial, punitive damages against the Defendants in an amount to

       be determined at trial; and

  V.   Such other and further relief as this Court may deem necessary in the interest of justice.

 Dated: 5/20/14
 Brooklyn, New York
                                                            Respectfully Submitted,


                                                                           /s/
                                                            By:     Paul Hale, Esq
                                                                    26 Court St. Ste 913
                                                                    Brooklyn, NY 11242
                                                                    (718) 554-7344
